Case 3:18-cv-07354-WHA Document 199-4 Filed 01/10/20 Page 1 of 3




           EXHIBIT D
            Case 3:18-cv-07354-WHA Document 199-4 Filed 01/10/20 Page 2 of 3




 1    Michael L. Schrag (SBN 185832)
      Joshua J. Bloomfield (SBN 212172)
 2    Linda Lam (SBN 301461)
      GIBBS LAW GROUP LLP
 3    505 14th Street, Suite 1110
      Oakland, California 94612
 4    Telephone: (510) 350-9700
      Facsimile: (510) 350-9701
 5    mls@classlawgroup.com
      jjb@classlawgroup.com
 6
      lpl@classlawgroup.com
 7
      Richard M. Paul III
 8    Ashlea G. Schwarz
      Laura C. Fellows
 9    PAUL LLP
      601 Walnut Street, Suite 300
10    Kansas City, Missouri 64106
      Telephone: (816) 984-8100
11    Facsimile: (816) 984-8101
      Rick@PaulLLP.com
12    Ashlea@PaulLLP.com
13    Laura@PaulLLP.com

14   Counsel for Plaintiff and Proposed Classes
15
                               UNITED STATES DISTRICT COURT FOR THE
16                               NORTHERN DISTRICT OF CALIFORNIA

17    ALICIA HERNANDEZ, et al., individually            Case No. 3:18-cv-07354 -WHA
      and on behalf of all others similarly situated,
18                                                      PLAINTIFFS’ NOTICE OF RULE
                      Plaintiffs,                       30(b)(1) DEPOSITION
19

20    v.                                                Date: January 2, 2020
                                                        Time: 9:00 a.m.
21    WELLS FARGO BANK, N.A.,                           Place: Huney & Vaughn Court Reporters
                                                               317 6th Avenue, Suite 200
22                    Defendant.                               Des Moines, Iowa 50309
23

24

25

26

27

28

                                                                           PLAINTIFFS’ NOTICE OF 30(b)(1) DEPOSITION
                                                                                                Case No. 3:18-cv-07354
            Case 3:18-cv-07354-WHA Document 199-4 Filed 01/10/20 Page 3 of 3




 1      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2      PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30(b)(1), Plaintiffs will

 3   take the deposition of a Wells Fargo witness with knowledge of the information contained in and the

 4   creation of the cap sheets that have been produced in this matter starting at 9:00 a.m. CST on January 2,

 5   2020 at Huney-Vaughn Court Reporters, 317 6th Avenue, Suite 200, Des Moines, Iowa 50309, and

 6   continuing day to day until completed.

 7      The deposition will be taken by oral examination before a certified court stenographer or other

 8   officer authorized to administer oaths with instant visual display of the deposition testimony.

 9      The deposition may also be recorded by means of videotape or related audio/visual recording.

10
      Dated: December 18, 2019                                Respectfully submitted,
11

12    Michael L. Schrag (SBN 185832)                          PAUL LLP
      Joshua J. Bloomfield (SBN 212172)                       /s/ Laura C. Fellows
13    Linda Lam (SBN 301461)                                  Richard M. Paul III
      GIBBS LAW GROUP LLP                                     Ashlea G. Schwarz
14    505 14th Street, Suite 1110                             Laura C. Fellows
      Oakland, California 94612                               601 Walnut Street, Suite 300
15
      Telephone: (510) 350-9700                               Kansas City, Missouri 64106
16    Facsimile: (510) 350-9701                               Telephone: (816) 984-8100
      mls@classlawgroup.com                                   Facsimile: (816) 984-8101
17    jjb@classlawgroup.com                                   Rick@PaulLLP.com
      lpl@classlawgroup.com                                   Ashlea@PaulLLP.com
18                                                            Laura@PaulLLP.com
19

20                                     ATTORNEYS FOR PLAINTIFFS

21
                                         CERTIFICATE OF SERVICE
22
         I hereby certify that on December 18, 2019, I electronically transmitted the foregoing to counsel of
23
     record for Defendants.
24
                                                          /s/ Laura C. Fellows
25

26

27

28

                                                                              PLAINTIFFS’ NOTICE OF 30(b)(1) DEPOSITION
                                                        -2-                                        Case No. 3:18-cv-07354
